                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



   Sony Music Entertainment,et al..

                          Plaintiffs,

           V.                                                 Case No. 1:18-cv-950-LO-JFA
                                                              Hon. Liam O'Grady
   Cox Communications,Inc., et al..

                          Defendants.




                           MEMORANDUM OPINION & ORDER


       Before the Court are Defendants Cox Communications, Inc. and CoxCom,LLC's

("Defendants" or"Cox")post-trial motions; Renewed Motion for Judgment as a Matter of Law

("Renewed JMOL"or "Rule 50 Motion")(Dkt. 681); and Motion for Remittitur or, in the

Alternative, a New Trial Under Federal Rule of Civil Procedure 59(a)("Rule 59 Motion")(Dkt.

683).' Both post-trial motions are fully briefed, and the Court dispensed with oral argument, as

it would not aid in the decisional process. The Court first will address the issues in the Renewed

JMOL before proceeding to Cox's Rule 59 Motion, which challenges the jury's statutory

damages award.




'The Court issued a ruling on the Parties' twenty-one motions in limine on November 19,2019,
indicating an opinion to follow to address certain matters in further detail. Dkt. 590.
Considering evidentiary rulings from the bench during trial proceedings, as well as the content of
the discussion herein, said in limine matters are sufficiently addressed and no longer require
separate analysis.
